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                    UNITED STATES COURT OF APPEALS
                                                                       FILED
                           FOR THE NINTH CIRCUIT
                                                                       SEP 08 2021
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS




 CALIFORNIA DEPARTMENT OF                       No. 20-15029
 TOXIC SUBSTANCES CONTROL
 and TOXIC SUBSTANCES
                                                D.C. No. 2:14-cv-00595-WBS-EFB
 CONTROL ACCOUNT,
                                                U.S. District Court for Eastern
               Plaintiffs - Appellees,          California, Sacramento

   v.                                           ORDER

  JIM DOBBAS, INC., a California
 corporation; et al.,

               Defendants,

   v.

 CENTURY INDEMNITY
 COMPANY; et al.,

               Movants - Appellants.


        The reply brief submitted on September 8, 2021 is filed.

        Within 7 days of this order, appellants are ordered to file 6 copies of the

brief in paper format with gray covers, accompanied by certification (attached to

the end of each copy of the brief) that the brief is identical to the version submitted

electronically. The Form 18 certificate is available on the Court's website, at

http://www.ca9.uscourts.gov/forms.
         Case: 20-15029, 09/08/2021, ID: 12222840, DktEntry: 35, Page 2 of 2

        The paper copies shall be submitted to the principal office of the Clerk. The

address for regular U.S. mail is P.O. Box 193939, San Francisco, CA 94119-3939.

The address for overnight mail is 95 Seventh Street, San Francisco, CA 94103-

1526.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Kevin Wing Gee
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
